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HALPER SADEH LLP
Zachary Halper, Esq.
36 Kingston Run
North Brunswick, NJ 08902
Tel: (212) 763-0060
Fax: (646) 776-2600
Email: zhalper@halpersadeh.com

Counsel for Plaintiff

                          UNITED STATES DISTRICT COURT
                             DISTRICT OF NEW JERSEY

  JACQUELINE GALEANO,                              Case No: 2:20-cv-05123-KM-ESK

         Plaintiff,
                                                   NOTICE OF VOLUNTARY
         v.                                        DISMISSAL PURSUANT TO FED. R.
                                                   CIV. P. 41(a)(1)(A)(i)
   E*TRADE FINANCIAL CORPORATION,
   RODGER A. LAWSON, KEVIN T. KABAT,
   RICHARD J. CARBONE, ROBERT
   CHERSI, JAIME W. ELLERTSON, JAMES
   P. HEALY, JAMES LAM, SHELLEY B.
   LEIBOWITZ, MICHAEL A. PIZZI,
   REBECCA SAEGER, DONNA L.
   WEAVER, and JOSHUA WEINREICH,

          Defendants.


       PLEASE TAKE NOTICE that, pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of

Civil Procedure, Plaintiff Jacqueline Galeano hereby voluntarily dismisses the above-captioned

action. Defendants have not served an answer or a motion for summary judgment.



Dated: July 27, 2020                             Respectfully submitted,

                                                 HALPER SADEH LLP

                                                 /s/Zachary Halper
                                                 Zachary Halper, Esq.
                                                 36 Kingston Run


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                                        North Brunswick, NJ 08902
                                        Telephone: (212) 763-0060
                                        Facsimile: (646) 776-2600
                                        Email: zhalper@halpersadeh.com

                                        Counsel for Plaintiff




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                               CERTIFICATE OF SERVICE

       I hereby certify that on July 27, 2020, a true and correct copy of the foregoing document
was served by CM/ECF to the parties registered to the Court’s CM/ECF system.


                                                   /s/Zachary Halper
                                                   Zachary Halper




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